4:05-cr-03060-RGK-DLP      Doc # 73   Filed: 11/08/06   Page 1 of 1 - Page ID # 117




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,              )
                                       )
                  Plaintiffs,          )                 4:05CR3060
                                       )
            V.                         )
                                       )
OCTAVIO DELVILLAR and                  )                   ORDER
FERNANDO NUNEZ,                        )
                                       )
                  Defendants.          )

      IT IS ORDERED that Jeremy Murphy’s motion to withdraw as counsel and
to continue trial (filing 72) is denied. Trial will commence on Monday morning,
November 13, 2006.

      November 8, 2006.               BY THE COURT:

                                      s/ Richard G. Kopf
                                      United States District Judge
